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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

William Carini
                              Plaintiff,
v.                                                    Case No.: 1:17−cv−08687
                                                      Honorable Sara L. Ellis
James Gentilcore
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 31, 2018:


        MINUTE entry before the Honorable Sara L. Ellis: Defendant's unopposed motion
for extension of fact discovery [27] is granted. The parties' final supplementation of MIDP
is due by 10/30/18 and fact discovery closes on 11/30/18. The Court strikes the status date
set for 9/26/18 and resets it to 12/5/18 at 9:30 a.m.Mailed notice (mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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